Case 1:19-cr-02039-SMJ   ECF No. 121   filed 08/23/22   PageID.499 Page 1 of 11




                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON



                                                               Aug 23, 2022
                                                                    SEAN F. MCAVOY, CLERK
                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WASHINGTON


UNITED STATES OF AMERICA,           )
                                    )
                    Plaintiff,      )
                                    )            No. 1:19-CR-2039-SMJ
     vs.                            )
MORRIS BRUCE JACKSON,               )
                                    )
                                    )
                    Defendant.      )
___________________________________ )

           Received Rule 5 papers from the United States District Court,
Western District of Washington.
Case 1:19-cr-02039-SMJ        ECF No. 121    filed 08/23/22      PageID.500 Page 2 of 11


                                                                                          CLOSED
                           U.S. District Court
  United States District Court for the Western District of Washington
                                (Tacoma)
 CRIMINAL DOCKET FOR CASE #: 3:22−mj−05162−DWC All Defendants

Case title: USA v. Jackson                                  Date Filed: 08/23/2022

Other court case number: 1:19−cr−02039−SMJ Eastern District Date Terminated: 08/23/2022
                         of Washington

Assigned to: Judge David W.
Christel

Defendant (1)
Morris Bruce Jackson                 represented by John Robert Carpenter
TERMINATED: 08/23/2022                              FEDERAL PUBLIC DEFENDER'S OFFICE
                                                    (TAC)
                                                    1331 BROADWAY
                                                    STE 400
                                                    TACOMA, WA 98402
                                                    253−593−6710
                                                    Fax: 253−593−6714
                                                    Email: john_carpenter@fd.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

Pending Counts                                     Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                  Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                         Disposition


                                                                                                   1
Case 1:19-cr-02039-SMJ         ECF No. 121        filed 08/23/22     PageID.501 Page 3 of 11


18:922(g)(1), 924(a)(2) −
Supervised Release violation



Plaintiff
USA                                              represented by Zachary Wiley Dillon
                                                                US ATTORNEY'S OFFICE (TACOMA)
                                                                1201 PACIFIC AVE
                                                                STE 700
                                                                TACOMA, WA 98402
                                                                253−428−3807
                                                                Email: zachary.dillon@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Assistant US Attorney

 Date Filed     # Page Docket Text
 08/23/2022               Arrest of Morris Bruce Jackson on 8/23/2022. (KEB) (Entered: 08/23/2022)
 08/23/2022    1          CHARGING DOCUMENT RECEIVED FROM ED/WA as to Morris Bruce
                          Jackson (Petition, Memo, Warrant). (KEB) (Entered: 08/23/2022)
 08/23/2022    3          ORDER APPOINTING FEDERAL PUBLIC DEFENDER appointing John
                          Robert Carpenter for Morris Bruce Jackson. On the basis of the defendant's
                          sworn financial statement, the court finds that he/she is financially unable to
                          retain counsel. It is hereby ORDERED that the Federal Public Defender for the
                          Western District of Washington be and hereby is appointed to represent the
                          defendant pursuant to Title 18 United States Code 3006A. Approved by Judge
                          David W. Christel. (No.pdf image attached) (KEB) (Entered: 08/23/2022)
 08/23/2022    4          NOTICE OF INVOCATION OF RIGHTS AT INITIAL APPEARANCE by
                          Morris Bruce Jackson (KEB) (Entered: 08/23/2022)
 08/23/2022    5          Minute Entry for proceedings held before Judge David W. Christel− CRD: Kim
                          Brye; AUSA: Zachary Dillon; Def Cnsl: John Carpenter; PTS: Leona Nguyen;
                          Time of Hearing: 2:15 PM; Courtroom: C; Session #: TAC220823; INITIAL
                          APPEARANCE IN RULE 32.1 PROCEEDINGS AND DETENTION
                          HEARING as to Morris Bruce Jackson held on 8/23/2022. Financial reviewed −
                          counsel appointed. Defendant advised of rights and charges. Defendant files
                          Waiver of Rule 32.1. Order of Transfer signed. Defendant files Invocation of
                          Rights. Parties argue detention issue. Defendant ORDERED detained. Defendant
                          remanded to custody. (KEB) (Entered: 08/23/2022)
 08/23/2022    6          WAIVER OF RULE 32.1 HEARINGS AND ORDER OF TRANSFER to
                          Eastern District of Washington as to Morris Bruce Jackson by Judge David W.
                          Christel. (cc: PTS, USMO) (Attachments: # 1 Order of Transfer)(KEB) (Entered:
                          08/23/2022)
 08/23/2022    7          LETTER from WD/WA to ED/WA regarding Rule 32.1 Transfer as to defendant
                          Morris Bruce Jackson (KEB) (Entered: 08/23/2022)




                                                                                                            2
Case 1:19-cr-02039-SMJ         ECF No. 121       filed 08/23/22    PageID.502 Page 4 of 11


MIME−Version:1.0
From:ECF@wawd.uscourts.gov
To:ECF@wawd.uscourts.gov
Bcc:
−−Case Participants: Zachary Wiley Dillon (caseview.ecf@usdoj.gov,
ecf−crm.usawaw@usdoj.gov, jamie.silva@usdoj.gov, katie.sobin@usdoj.gov,
lisa.crabtree@usdoj.gov, zachary.dillon@usdoj.gov), Judge David W. Christel
(christeldocs@wawd.uscourts.gov, lisa_ledford@wawd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:9076886@wawd.uscourts.gov
Subject:Activity in Case 3:22−mj−05162−DWC USA v. Jackson Arrest
Content−Type: text/html

                                           U.S. District Court

                  United States District Court for the Western District of Washington

Notice of Electronic Filing


The following transaction was entered on 8/23/2022 at 3:02 PM PDT and filed on 8/23/2022

Case Name:       USA v. Jackson
Case Number:     3:22−mj−05162−DWC
Filer:
Document Number: No document attached
Docket Text:
Arrest of Morris Bruce Jackson on 8/23/2022. (KEB)


3:22−mj−05162−DWC−1 Notice has been electronically mailed to:

Zachary Wiley Dillon zachary.dillon@usdoj.gov, CaseView.ECF@usdoj.gov,
ECF−CRM.USAWAW@usdoj.gov, Jamie.Silva@usdoj.gov, Katie.Sobin@usdoj.gov,
lisa.crabtree@usdoj.gov

3:22−mj−05162−DWC−1 Notice will not be electronically mailed to:




                                                                                             3
                     Case 3:22-mj-05162-DWC
              Case 1:19-cr-02039-SMJ   ECF No.Document
                                              121 filed108/23/22
                                                          Filed 08/23/22 Page 6Page
                                                                   PageID.503   of 6 5 of 11
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District
                                                 __________  Districtof of
                                                                        Washington
                                                                           __________

                  United States of America
                             v.                                    )
                                                                   )        Case No.    1:19-CR-2039-SMJ-1
                      Morris Bruce Jackson                         )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                         Morris Bruce Jackson                                            ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             u Complaint
u Probation Violation Petition            ✔ Supervised Release Violation Petition
                                          u                                              u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  See Petition & Order filed 6/24/2022.




Date: Jun 24, 2022, 9:36 am
                                                                                          Issuing
                                                                                          IIs
                                                                                            ssu
                                                                                              s ing officer’s signature
                                                                                                              signatur
                                                                                                                    ure
                                                                                                                    ur
                                                                                                                     r

City and
      nd state:      Spokane, Washington                                        Sean F. McAvoy, Clerk of Court/DCE
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title



                                                                                                                                        9
Case 1:19-cr-02039-SMJ         ECF No. 121       filed 08/23/22    PageID.504 Page 6 of 11


MIME−Version:1.0
From:ECF@wawd.uscourts.gov
To:ECF@wawd.uscourts.gov
Bcc:
−−Case Participants: John Robert Carpenter (amy_strickling@fd.org, carolynn_cohn@fd.org,
jessica_cvitanovic@fd.org, john_carpenter@fd.org, julie_valencia@fd.org,
maritza_pitot@fd.org, waw_ecf_notifications_tac@fd.org), Zachary Wiley Dillon
(caseview.ecf@usdoj.gov, ecf−crm.usawaw@usdoj.gov, jamie.silva@usdoj.gov,
katie.sobin@usdoj.gov, lisa.crabtree@usdoj.gov, zachary.dillon@usdoj.gov), Judge David W.
Christel (christeldocs@wawd.uscourts.gov, lisa_ledford@wawd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:9076897@wawd.uscourts.gov
Subject:Activity in Case 3:22−mj−05162−DWC USA v. Jackson Order Appointing Public Defender
Content−Type: text/html

                                           U.S. District Court

                  United States District Court for the Western District of Washington

Notice of Electronic Filing


The following transaction was entered on 8/23/2022 at 3:05 PM PDT and filed on 8/23/2022

Case Name:       USA v. Jackson
Case Number:     3:22−mj−05162−DWC
Filer:
Document Number: 3(No document attached)
Docket Text:
 ORDER APPOINTING FEDERAL PUBLIC DEFENDER appointing John Robert Carpenter for
Morris Bruce Jackson. On the basis of the defendant's sworn financial statement, the court
finds that he/she is financially unable to retain counsel. It is hereby ORDERED that the
Federal Public Defender for the Western District of Washington be and hereby is appointed
to represent the defendant pursuant to Title 18 United States Code 3006A. Approved by
Judge David W. Christel. (No.pdf image attached) (KEB)


3:22−mj−05162−DWC−1 Notice has been electronically mailed to:

John Robert Carpenter john_carpenter@fd.org, Amy_Strickling@fd.org, Jessica_Cvitanovic@fd.org,
Julie_Valencia@fd.org, Maritza_Pitot@fd.org, WAW_ECF_Notifications_Tac@fd.org,
carolynn_cohn@fd.org

Zachary Wiley Dillon zachary.dillon@usdoj.gov, CaseView.ECF@usdoj.gov,
ECF−CRM.USAWAW@usdoj.gov, Jamie.Silva@usdoj.gov, Katie.Sobin@usdoj.gov,
lisa.crabtree@usdoj.gov

3:22−mj−05162−DWC−1 Notice will not be electronically mailed to:




                                                                                                 10
       Case 3:22-mj-05162-DWC
Case 1:19-cr-02039-SMJ   ECF No.Document
                                121 filed408/23/22
                                            Filed 08/23/22 Page 1Page
                                                     PageID.505   of 1 7 of 11




                                                                                 11
Case 1:19-cr-02039-SMJ         ECF No. 121       filed 08/23/22    PageID.506 Page 8 of 11


MIME−Version:1.0
From:ECF@wawd.uscourts.gov
To:ECF@wawd.uscourts.gov
Bcc:
−−Case Participants: John Robert Carpenter (amy_strickling@fd.org, carolynn_cohn@fd.org,
jessica_cvitanovic@fd.org, john_carpenter@fd.org, julie_valencia@fd.org,
maritza_pitot@fd.org, waw_ecf_notifications_tac@fd.org), Zachary Wiley Dillon
(caseview.ecf@usdoj.gov, ecf−crm.usawaw@usdoj.gov, jamie.silva@usdoj.gov,
katie.sobin@usdoj.gov, lisa.crabtree@usdoj.gov, zachary.dillon@usdoj.gov), Judge David W.
Christel (christeldocs@wawd.uscourts.gov, lisa_ledford@wawd.uscourts.gov)
−−Non Case Participants: PTS−Tacoma (taccmecf@wawpt.uscourts.gov,
taccmecf@wawpt.uscourts.gov)
−−No Notice Sent:

Message−Id:9076915@wawd.uscourts.gov
Subject:Activity in Case 3:22−mj−05162−DWC USA v. Jackson Initial Appearance − Rule
5(c)(3)
Content−Type: text/html

                                           U.S. District Court

                  United States District Court for the Western District of Washington

Notice of Electronic Filing


The following transaction was entered on 8/23/2022 at 3:10 PM PDT and filed on 8/23/2022

Case Name:       USA v. Jackson
Case Number:     3:22−mj−05162−DWC
Filer:
Document Number: 5(No document attached)
Docket Text:
 Minute Entry for proceedings held before Judge David W. Christel− CRD: Kim Brye; AUSA:
Zachary Dillon; Def Cnsl: John Carpenter; PTS: Leona Nguyen; Time of Hearing: 2:15 PM;
Courtroom: C; Session #: TAC220823; INITIAL APPEARANCE IN RULE 32.1 PROCEEDINGS
AND DETENTION HEARING as to Morris Bruce Jackson held on 8/23/2022. Financial
reviewed − counsel appointed. Defendant advised of rights and charges. Defendant files
Waiver of Rule 32.1. Order of Transfer signed. Defendant files Invocation of Rights. Parties
argue detention issue. Defendant ORDERED detained. Defendant remanded to custody.
(KEB)


3:22−mj−05162−DWC−1 Notice has been electronically mailed to:

John Robert Carpenter john_carpenter@fd.org, Amy_Strickling@fd.org, Jessica_Cvitanovic@fd.org,
Julie_Valencia@fd.org, Maritza_Pitot@fd.org, WAW_ECF_Notifications_Tac@fd.org,
carolynn_cohn@fd.org

Zachary Wiley Dillon zachary.dillon@usdoj.gov, CaseView.ECF@usdoj.gov,
ECF−CRM.USAWAW@usdoj.gov, Jamie.Silva@usdoj.gov, Katie.Sobin@usdoj.gov,
lisa.crabtree@usdoj.gov

3:22−mj−05162−DWC−1 Notice will not be electronically mailed to:


                                                                                                 12
       Case 3:22-mj-05162-DWC
Case 1:19-cr-02039-SMJ   ECF No.Document
                                121 filed608/23/22
                                            Filed 08/23/22 Page 1Page
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      Case 3:22-mj-05162-DWC
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                                121 filed6-1  Filed 08/23/22
                                          08/23/22           PagePage
                                                     PageID.508   1 of 110 of 11




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               Case 3:22-mj-05162-DWC
       Case 1:19-cr-02039-SMJ   ECF No. Document
                                        121 filed 708/23/22
                                                      Filed 08/23/22 Page 1
                                                               PageID.509   of 1 11 of 11
                                                                          Page


                                  UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                              OFFICE OF THE CLERK
                                                      Tacoma
                                            1717 Pacific Ave., Suite 3100
                                                Tacoma, WA 98402
                                                  (253) 882-3826

 RAVI SUBRAMANIAN                                                                              Eric Smits
District Court Executive                                                                   Chief Deputy Clerk
     Clerk of Court




                                               August 23, 2022


       CLERK, US DISTRICT COURT
       Eastern District of Washington
       InterdistrictTransfer_WAED@waed.uscourts.gov

       Re: Morris Bruce Jackson
       Your No: 1:19-CR-02039-SMJ-1
       Our No: 3:22-MJ-5162-DWC-1

       Dear Clerk

       An Order of Transfer was entered on 08/23/2022, transferring the above captioned case to your
       court pursuant to Rule 32.1. Attached you will find a PDF image of our Internal Docket Sheet
       and all documents contained in the Western District of Washington Court File.


       Please acknowledge receipt by returning a stamped copy of this letter to me at
       Kim_Brye@wawd.uscourts.gov.


       Sincerely,


       RAVI SUBRAMANIAN,
       District Court Executive


       By Kim Brye
       Deputy Clerk




       Enc: Financial Affidavit, Case File



                                                                                                                15
